    Case: 1:18-cv-05197 Document #: 36 Filed: 08/23/18 Page 1 of 5 PageID #:118



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 CLAY, MASSEY & ASSOCIATES, P.C., on
 behalf of itself and all others similarly
 situated,

               Plaintiff,

        v.                                        Case No. 1:18-cv-05197

 GRAY TELEVISION, INC.; HEARST                    Hon. Ronald A. Guzman
 COMMUNICATIONS; NEXSTAR MEDIA
 GROUP, INC.; TEGNA INC.; TRIBUNE
 MEDIA COMPANY; and SINCLAIR
 BROADCAST GROUP, INC.,

               Defendants.


                            NOTICE OF UNOPPOSED MOTION

       PLEASE TAKE NOTICE that on August 28, 2018 at 9:30 a.m., or as soon thereafter as

counsel may be heard, the undersigned shall appear before the Honorable Ronald A. Guzman in

Courtroom 1801 at the Everett McKinley Dirksen United States Courthouse, 219 South Dearborn

Street, Chicago, Illinois 60604, and then and there present the UNOPPOSED MOTION FOR

EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND AND TO ADJOURN THE

INITIAL STATUS HEARING AND RELATED DEADLINES, a copy of which has been hereby

served upon you.
   Case: 1:18-cv-05197 Document #: 36 Filed: 08/23/18 Page 2 of 5 PageID #:119



Dated: August 23, 2018

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                                          2
   Case: 1:18-cv-05197 Document #: 36 Filed: 08/23/18 Page 3 of 5 PageID #:120



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                                             3
   Case: 1:18-cv-05197 Document #: 36 Filed: 08/23/18 Page 4 of 5 PageID #:121



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                                            4
    Case: 1:18-cv-05197 Document #: 36 Filed: 08/23/18 Page 5 of 5 PageID #:122



                                CERTIFICATE OF SERVICE

       I, hereby certify that on August 23, 2018, the foregoing document was filed electronically

through the Court’s Electronic Case Filing System. Service of this document is being made upon

all counsel of record in this case by the Notice of Electronic Filing issued through the Court’s

Electronic Case Filing System on this date.




                                                   /s/ Eliot A. Adelson
                                                   Eliot A. Adelson
